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                                                              1   Daniel L. Feder (SBN 130867)
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                                                              2
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                                                              5
                                                                  Attorneys for Plaintiff,
                                                              6   Leslie Weise
235 Montgomery Street Suite 1019 ♦ San Francisco, CA 94104




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                                                              8                                   UNITED STATES DISTRICT COURT
                                                              9                                    FOR NORTHERN CALIFORNIA
             The Law Office of Daniel Feder




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                                                             11     LESLIE WEISE, an individual,                      Case No.: 3:23-cv-00142-AGT
                                                             12                     Plaintiff,                            DANIEL FEDER’S NOTICE OF
                                                             13                                                           MOTION AND MOTION TO
                                                                                    v.
                                                                                                                          WITHDRAW AS COUNSEL FOR
                                                             14
                                                                    VOLTA CHARGING INDUSTRIES, LLC,                       PLAINTIFF
                                                             15     VOLTA CHARGING, LLC, VOLTA
                                                                    INDUSTRIES INC. and VOLTA INC., a                     Date:     September 22, 2023
                                                             16     Delaware Corporation doing business as                Time:     10:00 am
                                                                    Volta Inc; and DOES 1-50, inclusive,                  Judge:    The Hon. Alex Tse
                                                             17
                                                                                    Defendants.
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                                                                  NOTICE OF MOTION TO THE PARTIES AND THEIR ATTORNEYS OF RECORD:
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                                                                  PLEASE TAKE NOTICE that, on September 22, 2023, at 10:00 am., or as soon thereafter as the
                                                             22
                                                                  matter may be heard before the Honorable Alex Tse, United States District Judge, Courtroom 7, 19th
                                                             23
                                                                  Floor, of the United States District Court for the Northern District of California, San Francisco
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                                                                  Division, 450 Golden Gate Avenue, San Francisco, California 94102, Daniel Feder of the Law
                                                             25
                                                                  Offices of Daniel Feder, 235 Montgomery Street, Suite 1019, San Francisco, CA 94104, shall and
                                                             26
                                                                  hereby does respectfully seek leave of this Court, pursuant to LOCAL R. 11-5(a) and in compliance
                                                             27
                                                                  with CAL. R. PROF. CONDUCT 3-700, to withdraw as counsel for Plaintiff Leslie Weise
                                                             28
                                                                  (“Plaintiff”).
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                                                                                                       Motion to Withdraw as Counsel
                                                                       Case 3:23-cv-00142-AGT Document 15 Filed 08/17/23 Page 2 of 2




                                                              1   MOTION TO WITHDRAW AS COUNSEL FOR PLAINTIFFS Pursuant to LOCAL R. 11-5, Daniel
                                                              2   Feder (“Movant”) hereby notifies the parties and the Court of his intent to withdraw as counsel for
                                                              3   Plaintiff Leslie Weise.
                                                              4   Movant states the following grounds for this notice and motion:
                                                              5      1. Movant’s attorney-client representation agreement has been terminated. Plaintiff Leslie
                                                              6          Weise has retained new counsel--Amy Burma, of the Law Office of Amy Burma, Burma Law
235 Montgomery Street Suite 1019 ♦ San Francisco, CA 94104




                                                              7          Offices, (720) 464-5655; amy@burmalawoffices.com, 1035 Pearl St Boulder, CO 80302.
                                                              8      2. Additionally, Plaintiff is an attorney, licensed in California.
                                                              9      3. Movant has made diligent efforts to obtain a signed consent for an Order of Substitution of
                                                                         Counsel from Ms. Burma but has not been successful.
             The Law Office of Daniel Feder




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                                                             11      4. Ms. Burma has suggested that Movant file a motion to withdraw.
                                                             12      5. Movant’s withdrawal will not cause any prejudice or delay in this case.
                                                             13      6. This Notice of Motion and Motion to Withdraw has been served by email and Federal
                                                             14          Express, overnight delivery on Plaintiff and Plaintiff’s new counsel, Amy Burma.
                                                             15   THEREFORE, Movant Daniel Feder respectfully requests that this Court waive oral argument on this
                                                             16   Motion, grant him leave to withdraw as counsel in the above-captioned matter, and enter an order
                                                             17   stating that Movant has so withdrawn.
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                                                                         August 17, 2023
                                                                  Dated: ___________________                                   Law Offices of Daniel Feder
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                                                                                                                               /s/ Daniel L. Feder
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                                                             22                                                                DANIEL FEDER
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                                                                                                       Motion to Withdraw as Counsel
